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                   Supreme Court of the United States
                          Office of the Clerk
                      Washington, DC 20543-0001
                                                                   Scott S. Harris
                                                                   Clerk of the Court
                                                                   (202) 479-3011
                                   September 21, 2021


 Clerk
 United States Court of Appeals for the Tenth
 Circuit
 Byron White Courthouse
 1823 Stout Street
 Denver, CO 80257


       Re: Kevin D. Loggins, Sr.
           v. Rebecca L. Pilshaw, Judge, District Court of Kansas, Sedgwick
           County, et al.
           No. 21-435
           (Your No. 20-3007)


 Dear Clerk:

       The petition for a writ of certiorari in the above entitled case was filed on July
 11, 2021 and placed on the docket September 21, 2021 as No. 21-435.




                                         Sincerely,

                                         Scott S. Harris, Clerk

                                         by

                                         Lisa Nesbitt
                                         Case Analyst
